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                                                                                  VIA CM/ECF Only



                                                                 January 8, 2019

U.S. District Judge Brian M. Cogan
United States District Court
Eastern District of New York
225 Cadman Plaza East, Chambers 704S
Brooklyn, New York 11201

Re:     Nelson v. P.L.G. 499, LLC, et al., Case No.: 18-cv-7074-BMC

Dear Judge Cogan:

        This office represents the Plaintiff Kareem Nelson (“Plaintiff”) in connection with the
above-referenced action. Respectfully, I write to request an adjournment of the initial pretrial
conference (“IPTC”) scheduled for January 29, 2019 at 4:45 p.m. (D.E. 6). Our request for an
adjournment is requested because the defendants were only recently served with a summons and
complaint and have not yet appeared in this action. This is our first request for an adjournment of
this conference, and the request will not prejudice any of the parties or affect any other scheduled
dates since the defendants have not yet appeared in this action. It is therefore respectfully
requested that Your Honor reschedule the conference to a date of a convenience on or after
February 27, 2019, as the handling attorney will be out of state two weeks in mid-February. In
addition, it is respectfully requested that all other filing deadlines in conjunction with the initial
pretrial conference also be adjourned to coincide with the new conference date.

        We thank this Honorable Court for its time and consideration in this matter.

                                                                 Respectfully submitted,

                                                                 BASHIAN & PAPANTONIOU, P.C.

                                                                 /s/ Erik M. Bashian
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